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            IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION

                                     *
GLORIA COLLINS,

     Plaintiff,

                                     *
           V
                                     *           CV 123-092
                                     *
DENIS MCDONOUGH, Secretary of
                                     *
Veterans Affairs,
                                     *


                                     *
     Defendant.
                                     *




                                   ORDER




     Before the Court is Defendant's motion to dismiss. (Doc. 8.)^

For the following reasons. Defendant's motion is GRANTED IN PART

AND DENIED IN PART.




                              I. BACKGROUND


     Plaintiff is a former employee of the Department of Veterans

Affairs ("VA") at the Charlie Norwood VA Medical Center in Augusta,

Georgia. (Doc. 6, SISI 3-4.) Plaintiff brought this action pursuant
to Title VII of the Civil Rights Act of 1964 (''Title VII"), the

Civil Service Reform Act ("CSRA"), and the Rehabilitation Act to

remedy   acts     of    employment   discrimination,     harassment,     and
retaliation perpetrated against her by the VA.                 (Id- 5 1-)


1 Plaintiff also filed a motion for oral argument on Defendant's motion to
dismiss. (Doc. 20.)    Because the motions were thoroughly briefed, the Court
finds no need to conduct a hearing on the matter. As such, Plaintiffs' motion
for hearing (Doc. 20) is DENIED.
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Plaintiff was sexually assaulted by a fellow employee at the VA.

{Id. ^ 8.)   After the incident, the offending employee proceeded
to stalk her on her Facebook account.          (Id. 5 10.)      Plaintiff

reported the incident of sexual assault to her lead the next day,
asked for guidance on what to do, and requested to not work with
or otherwise interact with the offending employee.            (Id. SI 9.)

Plaintiff's lead assured her the matter would be handled.           (Id.)

After raising the issue to multiple supervisors and repeatedly
requesting action. Plaintiff was reassigned to a different shift
and location than the offending employee and signed a no-contact

order.   (Id. SI 10.)    However, the offending employee was later

allowed to change to the same location and shift as Plaintiff.

(Id.) Plaintiff continued to work with her supervisors to address
the matter, but after reporting the incident of sexual assault,

she suffered ongoing reprisal and retaliation, including being
forced to change workstations and shifts, having to leave work

through alternate means, and being denied leave and other benefits.
(Id. SISI 11, 27.)

     Plaintiff reported her sexual assault and ongoing lack of

support and safety she received from management to the VA's Equal
Employment Opportunity (^^EEO") office.        (Id. SI 12.)    Though the
EEC office assigned a counselor and investigated Plaintiff's
claim. Plaintiff alleges the EEC office never advised her in

writing of her rights and responsibilities.         (Id.)   Plaintiff was
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interviewed    about   the     sexual     assault,    harassment,     management

failure, and other issues on at least four occasions, including by

VA police, VA investigators, EEO counselors, and others, both

before and after her employment ended.              (Id. SI 17.)

       Plaintiff's conditions of employment degenerated enough that

she was forced to leave, and at the time of constructive discharge

she communicated via email to her EEO counselor to update her EEO

claim to include constructive discharge.               (Id. SISI 13-14.)   While

Plaintiff continued to communicate with the EEO office. Plaintiff

received no communication directly from the EEO office regarding

her claim after she left the VA.               (Id. SISl 16, 18.)     Because the

EEO counselor informed Plaintiff she would file a formal complaint

on    Plaintiff's   behalf     when     the    investigation    was    completed.

Plaintiff filed a Freedom of Information Act (''FOIA") request and

contacted an elected representative to receive updates on her

claim.    (Id. SI 19.)     Plaintiff received word through the elected

representative      that   the    VA's    investigation      corroborated     her

alleged mistreatment, but Plaintiff never received any word from

the EEO office about her claim.            (Id. SISI 20-21.)

       On July 7, 2023, Plaintiff filed her initial complaint.              (Doc.

1.)     On October 19, 2023, she filed an amended complaint (the

"Complaint"), which asserts five claims: (1) gender discrimination

in    violation   of   Title     VII;    (2)   hostile   work   environment    in

violation of Title VII; (3) reprisal for engaging in protected
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activities; (4) constructive discharge; and (5) violation of the
Rehabilitation Act.    (Doc. 6, ^^1 22-30.)      On November 22, 2023,

Defendant filed a motion to dismiss.      (Doc. 8.)



                         II. LEGAL STANDARDS


  Defendant moves to dismiss both for lack of subject-matter

jurisdiction due to Plaintiff's alleged failure to exhaust under
Federal Rule of Civil Procedure 12(b)(1) and failure to state a

claim under 12(b)(6).     (Doc. 8, at 1, 7-22.)       The Court sets out

the applicable legal standards under both rules below.
A. Rule 12(b)(1)

     Under Federal Rule of Civil Procedure 12(b)(1)/ attacks on

subject-matter jurisdiction may be facial or factual. Carmichael
V. Kelloqq, Brown & Root Servs., Inc., 572 F.3d 1271, 1279 (11th
Cir. 2009) (citation omitted).         For facial attacks, the Court
accepts the complaint's allegations as true. Stalley ex rel.—U.S.
V. Orlando Req'l Healthcare Sys., Inc., 524 F.3d 1229, 1232-33
(11th Cir. 2008) (citation omitted). Factual attacks, in contrast,
allow a court to ''consider extrinsic evidence such as deposition

testimony and affidavits." Carmichael, 572 F.3d at 1279 (citation
omitted).    Factual attacks place the burden on the plaintiff to
show jurisdiction exists.       OSI, Inc. v. United States, 285 F.3d
947, 951 (11th Cir. 2002) (citing Tomson v. Gaskill, 315 U.S. 442,
446 (1942); Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511
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(5th Cir. 1980))       To determine whether Plaintiff met her burden,
"it is proper for a judge . . . to resolve factual disputes so
long as the factual disputes do not decide the merits and the
parties have sufficient opportunity to develop a record.                Bryant
V. Rich, 530 F.Sd 1368, 1376 (11th Cir. 2008) (footnotes and

citations omitted).       Rule 12(b)(1) motions for failure to exhaust

are "factual attacks" based on evidentiary matters outside of the

pleadings.     See McElmurray v. Consol. Gov^t of Augusta-Richmond
Cnty., 501 F.3d 1244, 1251 (11th Cir. 2007) (discussing distinction
between    "facial"      and   "factual"     attacks     on    subject-matter

jurisdiction).

B. Rule 12(b)(6)

      In considering a motion to dismiss under Rule 12(b)(6), the
Court tests the legal sufficiency of the complaint.                Scheuer v.

Rhodes, 416 U.S. 232, 236 (1974), overruled on other grounds by
Davis V. Scherer, 468 U.S. 183 (1984).            Pursuant to Federal Rule
of Civil Procedure 8(a)(2), a complaint must contain               a short and
plain statement of the claim showing that the pleader is entitled
to relief" to give the defendant fair notice of both the claim and
the supporting grounds. Bell Atl. Corp. v. Twombly, 550 U.S. 544,
 555 (2007) (citation          omitted).      Although "detailed factual


 2 In Bonner v. Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), the
 Eleventh Circuit Court of Appeals adopted as binding precedent all the decisions
 of the former Fifth Circuit handed down prior to the close of business on
 September 30, 1981.
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Ashcroft V. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550

U.S. at 555).

     A plaintiff's pleading obligation ''requires more than labels
and conclusions, and a formulaic recitation of the elements of a

cause of action will not do." Twombly, 550 U.S. at 555 (citation

omitted).    "Nor does a complaint suffice if it tenders 'naked
assertions' devoid of 'further factual enhancement.              Iqbal, 556

U.S. at 678 (quoting Twombly, 550 U.S. at 557).              The Court need
not accept the pleading's legal conclusions as true, only its well-
pleaded facts.        at 677-79. Furthermore, "the court may dismiss
a complaint pursuant to [Rule 12(b)(6)] when, on the basis of a
dispositive issue of law, no construction of the factual
allegations will support the cause of action." Marshall Cnty. Bd.
of Educ. V. Marshall Cnty. Gas Dist., 992 F.2d 1171, 1174 (11th
Cir. 1993) (citing Exec. 100, Inc. v. Martin Cnty., 922 F.2d 1536,
1539 (11th Cir. 1991)).




                               III. DISCUSSION


     When    a   motion   to    dismiss   for    lack   of   subject—matter

jurisdiction and failure to state a claim is pending, the preferred
approach is to decide the jurisdictional issue first and then
decide whether a claim was stated.          Jones v. Georgia, 725 F.2d
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622, 623 (11th Cir. 1984) (citation omitted).          In this Circuit,
failure to exhaust can affect the Court's jurisdiction.         Crawford

V. Babbitt, 186 F.3d 1322, 1326 (11th Cir. 1999) (citing Brown v.

Gen. Servs. Admin., 425 U.S. 820, 832-33 (1976)).        Thus, the Court

first turns to Defendant's arguments concerning exhaustion and

then addresses the remaining arguments.

A. Exhaustion and Timeliness

     Defendant moves to      dismiss   under   Rule   12(b)(1) for       two

reasons: (1) Plaintiff failed to raise her claims through an EEC
complaint, and (2) Plaintiff failed to bring her claims within the
45-day time period provided by law. (Doc. 8, at 7-13.) Plaintiff
contends she properly and timely exhausted her claims. (Doc. 11,
at 7-9.) She further argues any failure to bring her claims within
the required 45-day period should be subject to equitable tolling
because there is no record the EEO counselor advised Plaintiff in
writing of her rights and responsibilities at their initial
meeting, and the EEO counselor advised her to ''hold off" filing a
formal claim.   (Id.)

     While both of Defendant's arguments are based on failure to

exhaust, because one is a jurisdictional prerequisite and the other
is a condition precedent, they are subject to different standards
of review and the evidence the Court can consider differs.           Gregg

V. McDonough, CV422-114, 2023 WL 2825332, at *6 (S.D. Ga. Feb. 9,
2023), report and recommendation adopted, 2023 WL 2730665 (S.D.
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Ga. Mar. 31, 2023) ("The distinction between conditions precedent

and jurisdictional prerequisites is vital to determining which
party bears the burden of proving exhaustion                       In the
Eleventh Circuit, administrative exhaustion is a jurisdictional

preirequisite   to   Title   VII   and   Rehabilitation    Act   actions.
Crawford, 186 F.3d at 1326; Gaillard v. Shinseki, 349 F. App x

391, 392 (11th Cir. 2009) ("A plaintiff asserting a private right
of action under the Rehabilitation Act must satisfy the exhaustion

of administrative remedies requirement in the manner prescribed by

Title VII . . .      (citations omitted)).     Eleventh Circuit courts

have subject-matter jurisdiction over these claims only if the
plaintiff "pursue[d] and exhaust[ed] her administrative remedies,
that is, "made a good faith effort to comply with the [EEC]
regulations and, particularly, to provide all the relevant,
specific information available to him or her." Crawford, 186 F.3d
at 1326 (citation omitted); Wade v. Sec'y of Army, 796 F.2d 1369,
1376 (11th Cir. 1986).       Where an agency, such as the VA, requests

information relevant to resolving the employee's complaint and the

employee fails to provide it, the employee has failed to exhaust
her administrative remedies.       See Johnson v. Bergland, 614 F.2d

415, 418 (5th Cir. 1980) (concluding plaintiff failed to exhaust
his administrative remedies where his "responses to the agency

request for information were insufficient to enable the agency to
determine what complaint of discrimination was made and when it
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had occurred").     Since Defendant's first argument challenges the

Court's subject-matter jurisdiction, the Court analyzes, under
Rule 12(b)(1), whether Plaintiff made a good faith effort to raise

each of her claims to the EEC office and provided all relevant,

specific information available.       See Crawford, 186 F.3d at 1326
(citation omitted).

     Timely contact with an EEC counselor is not a jurisdictional
prerequisite. Zipes v. Trans World Airlines, Inc., 455 U.S. 385,
393 (1982) (''We hold that filing a timely charge of discrimination
with the EEOC is not a jurisdictional prerequisite to suit in

federal   court,    but   a   requirement   that,   like   a   statute   of
limitations,   is    subject   to   waiver,   estoppel,    and   equitable
tolling.").    Rather, timely filing is a condition precedent to a
Title VII action.     See, e.g., Jackson v. Seaboard Coast Line R.R.

Co., 678 F.2d 992, 1000-10 (11th Cir. 1982) (holding that all
conditions precedent to a Title VII action are not jurisdictional
prerequisites); Myers v. Cent. Fla. Invs., Inc., 592 F.3d 1201,
1223-24 (11th Cir. 2010).        For a motion to dismiss, failure to

meet a filing deadline constitutes failure to state a claim under
Rule 12(b)(6).      See Oaxaca v. Roscoe, 641 F.2d 386, 391 (5th Cir.
1981); see also Felter v. Norton, 412 F. Supp. 2d 118, 122 (D.D.C.

2006) ("Ordinarily, a party's motion under Rule 12(b)(1) to dismiss
for lack of subject matter jurisdiction cannot rest upon an

assertion that an action is barred by the statute of limitations
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because the expiration of the limitations period is an affirmative

defense and not a bar to jurisdiction." (citations omitted)).

Accordingly, the Court first analyzes whether Plaintiff properly
raised her claims to the EEO office           under the Rule 12(b)(1)

standard and then addresses whether Plaintiff timely filed her

claims with the EEO office under the Rule 12(b)(6) standard.

     1. Claims Before the EEO Office

     To exhaust her administrative remedies, a federal employee

must first seek relief with the federal agency that allegedly

discriminated against her.       Brown v. Snow, 440 F.3d 1259, 1262
(11th Cir. 2006), overruled on other grounds by Burlington N. &

Santa Fe Ry. Co. v. White, 548 U.S. 53 (2006), (citing 29 C.F.R.

§ 1614.106(a)).    The purpose of this requirement "is to give the

agency the information it needs to investigate and resolve the
dispute between the employee and the employer."               Id. at 1263
(citations omitted).      As stated above, to determine whether an
employee   exhausted     her   administrative     remedies,    the   Court
considers whether she "made a good faith effort to comply with the

regulations" to present and pursue her claim through the EEO
office.    Id. (citation omitted).       Because exhaustion of claims

before an agency has been considered a jurisdictional requirement,
the Court "may consider extrinsic evidence such as deposition
testimony and affidavits" without converting the motion to dismiss




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to a motion for summary judgment.                 Carmichael, 572 F. 3d at 1279

(citation omitted).

     Defendant contends there is no evidence Plaintiff reported

her claims to the EEO office before initiating this lawsuit. (Doc.

8, at 8 n.l, 12-13.)          ''[T]he Court must approach each claim and
its exhaustion separately rather than determining if Plaintiff has

globally exhausted all claims, because subject matter jurisdiction
must be established claim by claim, not based on the action as a

whole."     Gregg, 2023 WL 2825332, at *2 (citing United States ex

rel. Boothe v. Sun Healthcare Grp., Inc., 496 F.3d 1169, 1176 (10th

Cir. 2007)).

     Preliminarily,        before    analyzing        whether    each   claim    was

presented to the EEO office, the Parties dispute whether Plaintiff
ever filed an EEO complaint.          (Doc. 8, at 2-3, 7, 11; Doc. 11, at

6-9.)       Defendant contends ''Plaintiff never complied with the
processes for filing an EEO complaint regarding the conduct alleged
in the . . . [C]omplaint." (Doc. 8, at 7.) Defendant argues that
while Plaintiff raised issues concerning her assault to an EEO

counselor,     she    never      formally       initiated   an   EEO    claim,   and
Plaintiff's meeting with an EEO counselor did not constitute filing

a   claim    with    the   EEO    office     in    compliance    with    applicable

regulations.         (Id. at 11.)           Rather, according to Defendant,
Plaintiff was referred to the EEO office by a supervisor and the

EEO office initiated an interview and investigation on its own.


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(Id. at 11-12.)        Plaintiff contends she did not understand the
difference between initiating an internal investigation and filing

a formal complaint when she met with the EEO counselor, and any
confusion    about    whether   she   had   initiated   an   EEO   claim    was

compounded by the EEO office's instruction to wait to do more until
after the investigation and the EEO office's failure to inform her

in writing of her rights and responsibilities.               (Doc. 11, at 6-
9.)    Plaintiff asserts she understood she initiated an EEO claim
when she first met with the EEO counselor.          (Doc. 11-1, at 4.)

       The Court finds Plaintiff made a good faith effort to initiate

an EEO claim.        Brown, 440 F.3d at 1262.      Plaintiff believed she
initiated an EEO claim when she first spoke with the EEO counselor

and participated in the resulting investigation by providing
interviews and documentation.          (Doc. 6, SI 12; Doc. 11 — 1, at 4.)

Therefore, any claims raised in her interviews with the EEO office
or subsequently brought to its attention by Plaintiff during the
investigation were brought in good faith by Plaintiff and are
exhausted.     Brown, 440 F.3d at 1262.       The Court now analyzes each
of her five claims to determine whether she raised specific charges

and provided information necessary to the investigation to the EEO
office to exhaust her claims.          Crawford, 186 F.3d at 1326; Wade,

796 F.2d at 1376.




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           a. Gender Discrimination

     First,   the     Court       finds    Plaintiff     raised   her   gender

discrimination     claim   with    the    EEO office.     Plaintiff's gender

discrimination claim is based on the alleged sexual assault she

suffered at the hands of a co-worker and the managers who falsely

assured her they could and would take action to resolve the

situation on her behalf.          (Doc. 6, SI 23.)      Indeed, the EEO fact-

finding inquiry summary states '^^[t]his investigation was convened

to conduct an inquiry into allegations of inappropriate sexual

contact." (Doc. 8-1, at 4.)          Plaintiff's witness statement to the

EEO office also includes detailed allegations of the sexual assault

and how she reported the incident to ^^the lead," Mr. Alex Phillips.

(Id. at 12-13.)       Mr. Phillips's witness statement corroborates

Plaintiff's statement.           (I^ at 18.)         Plaintiff also emailed

screenshots   to     the   EEO     counselor    over     the   course   of   the

investigation in support of her allegations.                   (Id. at 49-54.)

There is ample evidence in the record indicating Plaintiff raised

these issues in her meeting with the EEO office and actively

participated in the investigation.              Thus, the Court finds her

gender discrimination claim was administratively exhausted with

the EEO.   Crawford, 186 F.3d at 1326; Wade, 796 F.2d at 1376.

           b. Hostile Work Environment


     Second, the Court finds Plaintiff raised her hostile work

environment claim to the EEO office.              Plaintiff's hostile work



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environment claim is based on all of Defendant's conduct alleged

in her Complaint.    (Doc. 6, ^ 24.)     The crux of her hostile work

environment claim appears to be her continued lack of support from

management and how the offending employee's continuing conduct

made her feel unsafe at work.       (Id. SISl 10-12; Doc. 11-1, at 6.)

Plaintiff alleges she informed the EEO office of these concerns.

(Doc. 6, f 12.)       The EEO office's record indicates Plaintiff

informed it she     was continually scheduled       with the offending

employee, and she felt unsafe at work.        (Doc. 8-1, at 5, 12-13.)

In her witness statement. Plaintiff indicated ^^she want[ed] to be

removed from the downtown campus because . . . [the offending

employee] seem[ed] to be stalking her."         (Id. at 13.)     Based on

the foregoing, the Court finds Plaintiff made a good faith effort

to bring her hostile work environment claim to the EEO office, so

this claim was administratively exhausted.        Crawford, 186 F.3d at

1326; Wade, 796 F.2d at 1376.

           c. Reprisal

     Third, the Court finds Plaintiff did not effectively raise

her reprisal claim with the EEO office. Plaintiff's reprisal claim

is based on her being ''treated more harshly and suffer[ing] adverse

employment actions because she reported the employee who had

assaulted her." (Doc. 6, SI 27.)     Specifically, she points to being

"forced to change work stations, shifts, . . . [and] to leave work

through alternative means" and being "denied leave and other


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benefits" after reporting the incident. (Id.) There is no record

of any reprisal claim in the EEO investigation documents.               (See
Doc. 8-1.)     Indeed, Plaintiff's witness statement and her reports

in    the   EEO   investigation    do    not   allege   her   mistreatment,
particularly by her direct supervisor Ms. Debra Sanders, was ever
because of or in retaliation for reporting the sexual assault or

any other protected activity. (Id. at 12-13, 29-30.) In a report
that is part of the EEO investigation record. Plaintiff complains
Ms. Sanders treated her poorly since first becoming Plaintiff s
supervisor and states she does not know why. (Id. at 29-30 C'l am
not sure what [Ms. Sanders's] issue is with me but it has been
since the first day 1 started here. . . . She is always nice nasty

to me and 1 am completely confused as to why . . . .").) Plaintiff,
however, states in the same report: ^^1 informed of the clerk that
rubbed his penis across my behind and the next thing 1 know 1 was
working weekends alone with the gentleman."                   (^dj_ at 29.)
Plaintiff also avers that at the first meeting with the EEO

counselor, she explained what happened to her, including acts of
harassment and retaliation.             (Doc. 11-1, at 4.)      She further

asserts she was interviewed by a board at the VA, which she

believed was related to her EEO charges, and answered questions

about how her claim started with the assault and proceeded to

include harassment, FMLA leave abuse, and retaliation.               (1^•

6.)



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     It is Plaintiff's burden to show jurisdiction exists.           QSI,

Inc., 285 F.3d at 951 (citations omitted). Because administrative
exhaustion is jurisdictional, Plaintiff must show she exhausted
her administrative remedies by in good faith bringing her claim to

the EEO office and participating in the investigation.          Crawford,
186 F.3d at 1326. Plaintiff's statements during the investigation

do not indicate she exhausted her administrative remedies as to

her reprisal claims because her "responses to the agency request
for information were insufficient to enable the agency to determine

what complaint of [reprisal] was made and when it had occurred.
Johnson, 614 F.2d at 418.         Plaintiff's statements in the EEO
investigation do not show any claims of reprisal.                  Indeed,
Plaintiff states she does not know why she is being mistreated by
management and that it has always been this way with Ms. Sanders.
(Doc. 8-1, at 29-30.)        These statements go against finding a
reprisal claim was raised.         See Oncale v. Sundowner Offshore
Servs., Inc., 523 U.S. 75, 80 (1998) (explaining Title VII does
not operate as a "civility code for the American workplace ),
Succar v. Dade Cnty. Sch. Bd., 229 F.3d 1343, 1345 (11th Cir. 2000)

("Title VII prohibits discrimination; it is not a shield against
harsh treatment at the work place.        Personal animosity is not the

equivalent of sex discrimination . . . .           The plaintiff cannot
turn a personal feud into a sex discrimination case . . . .

(alterations in original) (citation omitted)).          The only remotely


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adverse action Plaintiff referenced in the EEO investigation was

^^working weekends alone with the gentleinan" who assaulted her after
she reported him.     (Doc. 8-1, at 30.)      This action, however, is
not listed in her Complaint and more bolsters her claim that she

lacked support from management than that they retaliated against
her.    (See Doc. 6.)       Plaintiff's conclusory allegations and
averments that she informed the EEO office of general retaliation

are also insufficient to show she provided specific information to

the EEO office regarding reprisal. Johnson, 614 F.2d at 418. For
these reasons, the Court finds Plaintiff did not exhaust her
reprisal claim with the EEO office. Therefore, Defendant s motion
to dismiss (Doc. 8) is GRANTED as to Plaintiff's reprisal claim,
           d. Constructive Discharge

       Fourth, the Court finds Plaintiff raised her constructive
discharge claim with the EEO office.              Plaintiff alleges her
''conditions of employment degenerated enough that she was forced
to leave her employment" because of her complaints and in reaction
to the "lack of action thereon by her managers and the EEO office."

(Doc. 6, 11 13, 29.)         Plaintiff alleges "at the time of her
termination, [she] communicated via email to her EEO counselor to

'change [her] EEO claim to include constructive discharge,'" but
she never received any response.          (Id. S[5 14 — 15.)   There is no

record of her filing a constructive discharge claim in the EEO
investigation    documents.       (See    Doc. 8-1.)      In   Plaintiff s


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declaration, she avers that in July 2021, her EEO counselor

informed her the investigation was wrapping up and she understood

based on this communication that she had an ongoing EEO claim.

(Doc. 11-1, at 6.)           That same month. Plaintiff asserts she sent

her EEO counselor an email asking to amend her EEO claim to include

constructive discharge.            (Id.)

     The Court finds Plaintiff made a good faith effort to add her

constructive discharge claim to what she believed was her ongoing

EEO claim.     Crawford, 186 F.3d at 1326; Wade, 796 F.2d at 1376.

The Court is not dissuaded from this finding by the lack of

0vidence     in   the        EEO     investigation      record.      Plaintiff s

constructive discharge claim arose after the investigation was

initiated,    and,      as    Plaintiff      avers,    the   investigation      was

finishing up when she reported it.                 (Doc. 11-1, at 5-6.)    Unlike
Plaintiff's reprisal claim where there were multiple opportunities
for Plaintiff to raise and provide details of her claim. Plaintiff

was given no opportunity to provide specific details on her
constructive discharge claim because the EEO counselor never

responded to her communications regarding the claim and finished
her report prior to adding the claim.                 (Doc. 6, SlSl 14 — 15.)   For
these   reasons,        the        Court   finds     Plaintiff    exhausted     her

constructive discharge claim.

             e. Rehabilitation Act




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        Finally, the Court finds Plaintiff raised her Rehabilitation

Act claim with the EEC office.               Plaintiff alleges she ''was denied

reasonable requests for leave" in violation of the Rehabilitation

Act.      (Doc. 6, H 30.)            The EEO investigation report contains

numerous references to Plaintiff's disputes with Ms. Sanders over

her requests for leave.              (Doc. 8-1, at 6, 15-16, 18-19, 29, 37,
45.) Indeed, the EEO investigation report specifically references

disputes with Ms. Sanders over leave being approved and being
marked as absent without leave ("AWOL") when she requested leave.

(Id. at 29.)          While the focus of the EEO investigation was on the
alleged sexual assault and subsequent handling of that incident,
it also reveals Plaintiff raised multiple and specific complaints

of Ms. Sanders's handling of leave requests.                            Based on the

foregoing, the Court finds Plaintiff exhausted her Rehabilitation
Act claim.


        2. Timeliness


        For    both    Title   VII    and    Rehabilitation       Act    claims,   the

aggrieved federal employee "must initiate contact with a Counselor
within        45   days   of   the    date    of   the   matter    alleged    to    be
discriminatory or, in the case of personnel action, within 45 days

of the effective date of the action." 29 C.F.R. § 1614.105(a)(1).

"Generally, when the claimant does not initiate contact within the

45-day charging period, the claim is barred for failure to exhaust




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administrative remedies." Shiver v. Chertoff^ 549 F.3d 1342, 1344

(11th Cir. 2008) (citation omitted).

     As explained above, timeliness is subject to review under
Rule 12(b)(6).    Qaxaca, 641 F.2d at 391; Felter, 412 F. Supp. 2d

at 122.   Generally, when considering a Rule 12(b)(6) motion, the

district court is constrained to consider the allegations within

the four corners of the complaint.         See Speaker v. U.S. Dep^t of

Health & Hum. Servs. Ctrs. for Disease Control & Prevention, 623

F.3d 1371, 1379 (11th Cir. 2010) (citation omitted).                   For a

12(b)(6) motion, a district court may ''consider documents attached
to the motion to dismiss if they are referred to in the complaint,

central to the plaintiff's claim, and of undisputed authenticity."
Hi~Tech Pharms., Inc. v. HBS Int'l Corp., 910 F.3d 1186, 1189 (11th

Cir. 2018) (citation omitted). Otherwise, if "matters outside the
pleadings are presented to and not excluded by the court, it must
convert the motion to dismiss into a summary judgment motion."

Fed. R. Civ. P. 12(d); SFM Holdings, Ltd. v. Banc of Am. Sec., LLC,

600 F.3d 1334, 1337 (11th Cir. 2010).

     The Court finds it appropriate to consider Plaintiff's EEC

investigation without converting the motion to dismiss into a

motion for summary judgment.^        First, the investigation resulting

^ In r6spons6 to Dofondant's motion to dismiss, Plaintiff assarts savaral new
allegations and attaches her own affidavit of the underlying events. (See Docs.
11, 11-1.) Plaintiff may not amend her complaint through a response to a motion
to dismiss. Burgess v. Religious Tech. Ctr., Inc., 600 F. App'x 657, 665 (11th
Cir. 2015) (citation omitted).    Thus, the Court will consider only those
arguments raised in Plaintiff s response and will disregard any alleged facts
not included in her Complaint.

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from her meeting with the EEO counselor is expressly referenced in

the Complaint.      (Doc. 6, SISI 12, 19.)       Second, a showing that
Plaintiff timely filed her charge with the EEO office is central

to Plaintiff's suit.       Third, the authenticity of the facts found

in the investigation is not in dispute. (See Docs. 8, 11.)^ Thus,
the Court will consider the EEO investigation without converting

the motion to dismiss.       Hi-Tech Pharms., Inc., 910 F.3d at 1189;

SFM Holdings, 600 F. 3d at 1337.

       Defendant argues none of Plaintiff's claims were timely

raised to the EEO office.      (Doc. 8, at 7—13.)      Plaintiff contends

her claims are timely and any failure to bring them within the

reguired 45—day period should be subject to eguitable tolling.
(Doc. 11, at 7-9.)          To determine the timeliness of each of
Plaintiff's claims, the Court must analyze first whether the claim

was timely raised to the EEO office within 45 days of its
occurrence, then second, if the claim was not raised within 45

days, whether the deadline was extended or tolled under applicable
law.


       In National Railroad Passenger Corp. v. Morgan, the Supreme

Court   clarified    the   timely-filing    requirements     and   explained

''whether, and under what circumstances, a Title VII plaintiff may



^ While there is debate about whether the EEO counselor advised Plaintiff to
wait to file a formal charge, the Court notes the dates referenced in the EEO
investigation going directly to the issue of timeliness, such as when the
assault occurred and when Plaintiff first spoke with an EEO counselor, are not
disputed by the Parties.

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file suit on events that fall outside [the timely-filing] period.

536 U.S. 101, 105 (2002).          ''The [Supreme] Court reached two

different answers, one for each of the two types of claims at issue

in the case: (1) disparate treatment and retaliation claims

challenging 'discrete discriminatory or retaliatory acts,' and (2)
a claim alleging a hostile work environment."                Ledbetter v.

Goodyear Tire & Rubber Co., 421 F.Sd 1169, 1178 (11th Cir. 2005)

(citing Morgan, 536 U.S. at 105).         Because of these differences,
the Supreme Court stressed "the need to identify with care the
specific employment practice that is at issue," particularly when
determining whether a plaintiff filed a timely claim under Title
VII.     Ledbetter v. Goodyear Tire & Rubber Co., 550 U.S. 618, 624

(2007) (citing Morgan, 536 U.S. at 110-11).          Since both types of
claims are present, the Court outlines the timeliness standards
for both.


        First, when considering timeliness of disparate treatment

claims, for each discrete act forming the basis of Plaintiff's
claims, the unlawful practice challenged is considered to have
"'occurred' on the day that it 'happened.'"           Ledbetter, 421 F.Sd

at     1178-79 (citing   Morgan, 536 U.S.       at 109) ("[0]nly those

'unlawful employment practice[s]' that are complained of in a

timely-filed charge of discrimination to the EEOC can form the
basis for Title VII liability." (second alteration in original)

(citation omitted)).       "[D]iscrete acts of discrimination . . .


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each      constitute[]     a   separate    actionable     unlawful   employment

practice." Id. at 1179 (internal quotation marks omitted) (quoting
Morgan, 536 U.S. at 114).              ''Because each is an identifiable

violation of Title VII, '[e]ach discrete discriminatory act starts

a   new    clock   for    filing   charges     alleging    that    act.'"    Id.

(alteration in original) (quoting Morgan, 536 U.S. at 113). Based

on this, "discrete acts that fall within the statutory time period

do not make timely acts that fall outside the time period.

Morgan, 536 U.S. at 112.           Such discrete discriminatory acts are

"time barred, even when they are related to acts alleged in timely

filed charges."          Id. at 113.      However, "[t]he existence of past

acts and the employee's prior knowledge of their occurrence . . .

does not bar employees from filing charges about related discrete

acts so long as the acts are independently discriminatory and
charges addressing those acts are themselves timely filed."                  Id.
Thus, any claims based on discrete unlawful practices that occurred
within 45 days of Plaintiff's EEO office contact on February 10,

2021 are timely.          But any claims based on events that occurred
more than 45 days prior to Plaintiff initiating contact with the

EEO office are untimely and barred unless subject to an extension

or tolling.

        Second,    when    considering     timeliness     of   a   hostile   work

environment claim, "consideration of the entire scope of [the]

claim, including          behavior alleged outside the statutory time


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period, is permissible for the purposes of assessing liability, so
long as an act contributing to that hostile environment takes place
within the statutory time period."        Id. at 105.     As the Supreme

Court explained,

     [h]ostile environment claims are different in kind from
     discrete acts.  Their very nature involves repeated
     conduct. The "unlawful employment practice" therefore
     cannot be said to occur on any particular day.       It occurs
     over a series of days or perhaps years and, in direct
     contrast to discrete acts, a single act of harassment
     may not be actionable on its own. Such claims are based
     on the cumulative effect of individual acts.

Id. at 115 (citations omitted).          "Given, therefore, that the

incidents constituting a hostile work environment are part of one

unlawful employment practice, the employer may be liable for all
acts that are part of this single claim." Id. at 118. The burden
of establishing a timely filed charge of discrimination falls on
the plaintiff.     Jordan v. City of Montgomery, 283 F. App'x 766,
767 (11th Cir. 2008) (citing Jackson, 678 F.2d at 1010).

           a. Equitable Tolling

     Compliance with these procedural requirements is "subject to
waiver, estoppel, and equitable tolling." Zipes, 455 U.S. at 393.
Plaintiff contends any failure to bring her claim within 45 days

of any discrete acts alleged should be excused due to equitable
tolling.   (Doc. 11, at 12-14.)       Because equitable tolling may be
implicated in each of Plaintiff's remaining claims, the Court
addresses Plaintiff's tolling argument then applies it to each

claim below.



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    In the Eleventh Circuit, the plaintiff's failure to timely

bring a claim can be excused in three situations: "situations in
which an action was pending before a state court, situations in

which the defendant had concealed facts supporting a cause of

action under Title Vll, and situations in which the plaintiff was

misl[e]d by the defendant about the nature of h[er] rights under
Title Vll."    Manning v. Carlin, 786 F.2d 1108, 1109 (11th Cir.

1986).   But if none of these situations is involved, the suit may

be dismissed for failure to exhaust.       Id.

     Courts apply equitable tolling sparingly because it is an
"extraordinary remedy."      Chang v. Carnival Corp., 839 F.3d 993,
996 (11th Cir. 2016) (per curiam) (citation omitted).              Federal
courts "have allowed equitable tolling in situations where the

claimant has actively pursued his judicial remedies by filing a

defective pleading during the statutory period, or where the
complainant has been induced or tricked by his adversary's
misconduct into allowing the filing deadline to pass.            Irwin—yj_

Pep't of Veterans Affs., 498 U.S. 89, 96 (1990) (citations
omitted).     Indeed, "the interests of justice on which a tardy
plaintiff relies do not support a plaintiff who has not file[d]
her action in a timely fashion despite knowing or being in a

position reasonably to know that the limitations period is
running."     Chang, 839 F.3d at 996 (first alteration in original)
(internal quotation marks and citation omitted).               "Equitable


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tolling is appropriate when a movant untimely files because of
Qxtrsordinsry circunistdnces that are both beyond. h[er] control and
unavoidable even with diligence."        Arce v. Garcia, 434 F.3d 1254/

1261 (11th Cir. 2006) (citation omitted). The plaintiff bears the
burden of showing circumstances exist that warrant equitable

tolling.   Id. (citation omitted).

       Plaintiff contends she is entitled to equitable tolling on

her claims under the third prong because (1) she did not understand

her responsibilities to report prior to her meeting with the EEO
office; and (2) in her initial EEO meeting, the counselor failed
to advise her in writing of her rights and responsibilities and
misled her to believe an EEO claim was initiated on her behalf and

she should refrain from filing anything further.         (Doc. 11, at 9,

15.)    Defendant contends Plaintiff is not excused from the 45-day
time requirement because she had constructive notice of the EEO
office deadline and her responsibilities prior to meeting with the

EEO counselor.    (Doc. 8, at 9-12; Doc. 16, at 4-5.)

       First, the Court finds Plaintiff had sufficient notice of EEO

office procedures prior to her meeting with the EEO counselor, so
an extension of the 45—day window is not warranted.          An extension

of the 45-day time limit is mandated when an ''individual shows
that he or she was not notified of the time limits and was not

otherwise aware of them."      29 C.F.R. § 1614.105(a)(2).       Plaintiff

denies she understood the process to bring an EEO claim, even prior


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to her meeting with the EEO counselor.       (Doc. 11^ at 15; Doc. 11
1, at 2.)      But Plaintiff concedes she received ''cursory" EEO
training during her new employee orientation.        (Doc. 11-1, at 2.)
Defendant contends Plaintiff cannot rely on her misunderstanding

of the EEO process to save her claims because she was on notice of
the process.     (Doc. 16, at 5.)         In support of its argument.
Defendant points to the VA's conspicuously placed posters at work.
Plaintiff's own admission that the EEO process was covered in her

new employee training, and Plaintiff's employee records showing
she completed multiple training sessions on harassment and
employee rights.    (Doc. 8, at 9-10; Doc. 16, at 5.)
     The record reflects Plaintiff had sufficient notice prior to

her initial meeting with the EEO office of the timeline to bring
an EEO claim.       Notification is all that is required by the
regulations; understanding is not. See 29 C.F.R. § 1614.105(a)(2)
("[T]he Commission shall extend the 45-day time limit in paragraph
(a)(1) of this section when the individual shows that he or she
was not notified of the time limits and was not otherwise aware of
them . . . ."). While Plaintiff disputes her understanding of the
EEO process generally, she does not dispute she received training
sessions covering EEO processes or EEO posters were present in her
 workplace describing the EEO process.        (See Doc. 11.)     The Court
finds Plaintiff had notice of the EEO timeliness requirements so

 her time for filing her claims is not subject to extension.


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      Second, the Court finds equitable tolling is inapplicable to

any discrete acts occurring more than 45 days prior to Plaintiff's
initial contact with the EEO office on February 10, 2021 but may

be applicable to any discrete acts occurring within 45 days of her
initial contact with the EEO office or thereafter.                Plaintiff

contends she is entitled to equitable tolling based on allegedly

misleading statements by her EEO counselor. (Doc. 11, at 9, 15.)
Any claims Plaintiff delayed in bringing after the meeting could
be attributable to confusion caused by the EEO counselor s alleged
assurances that a formal claim would be initiated after the

conclusion of the investigation and may be subject to equitable

tolling. However, as explained above. Plaintiff was on notice of
the 45-day filing requirement before her EEO meeting. Therefore,
any allegedly misleading conduct or statements made in the EEO
meeting are insufficient to support tolling of the discrete acts
that occurred more than 45 days before February 10, 2021. Indeed,
Plaintiff does not argue or allege anything or anyone prevented
Hsr from reaching out to the EEO office or misled her about her
rights prior to her meeting with an EEO counselor. (^ee Docs. 6,
11.) Plaintiff's conduct and delay in bringing her claims to the
EEO     office   prior   to   her   initial   meeting   were   not due      to
extraordinary circumstances beyond her control or unavoidable even
with diligence.       Arce, 434 F.Sd at 1261 (citation omitted).            For
these reasons, the Court finds Plaintiff is not entitled to


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equitable tolling for any discrete acts that occurred more than 45
days prior to her first meeting with the EEO office.              See id.
(citation omitted). Thus, any discrete acts forming the basis of
Plaintiff's claims that occurred more than 45 days prior to her

initial contact with the EEO office are time barred,

           b. Timeliness of Each Remaining Claim

     As explained above, Plaintiff administratively exhausted her
gender discrimination, hostile work environment, constructive
discharge, and rehabilitation claims. However, Defendant contends
Plaintiff failed to timely initiate contact with the EEO office

for these claims. (Doc. 8, at 8—9, 12—13.) The Court now analyzes

each of these claims to determine whether they were timely brought

to the EEO office, and if not, whether they are subject to

equitable tolling.

                 i. Gender Discrimination

     Plaintiff bases her gender discrimination claim on all of
Defendant's conduct alleged in the Complaint, but specifically on

the assault and false assurances by her managers that the situation
would be resolved on her behalf.          (Doc. 6, SI 23.)   Unfortunately,

];^0ither Party provides a clear timeline of the events.          Plaintiff
provides no dates or timelines for any of the alleged incidents in
her Complaint. (See id.)       Defendant provides several supporting
documents from the EEO investigation of Plaintiff s claim, which

 provide at least some dates.             (See Doc. 8-1.)       From these


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documents, the Court can glean: (1) the alleged sexual assault
occurred on January 29, 2020; (2) Plaintiff reported the incident
to her lead on January 30, 2020; (3) the offending employee sent
Plaintiff messages on Facebook on January 30 and 31, 2020; (4)
Plaintiff sent a text message to another lead a couple days after

the assault; (5) Plaintiff sent an email to the acting chief on

May 26, 2020 to report intimidation and bullying; (6) Plaintiff
mentioned the assault in a meeting with Tanyetta Miranda on

February 10, 2021 which led to implementation of no-contact orders
on February 11, 2021; (7) after the no-contact orders were in
place, the offending employee was allowed to change to the same
location and shift as Plaintiff; and (8) in response to Plaintiff's
complaints about the offending employee being transferred, a
manager told her there was nothing that could be done because ''it's
your word against his." (Doc. 8-1, at 5, 12-13, 27-28, 32-35, 37,
52; Doc. 6, SISl 8-12.)

     It is Plaintiff's burden to show she timely filed each of her

claims with the EEO office, and, as to her gender discrimination
claim, the Court finds she has not carried her burden for some of
the discrete acts underlying her claim.         Jordan, 283 F. App x at

767 (citing Jackson, 678 F.2d at 1010). Plaintiff first met with
and reported her claims to the VA's EEO office on February 10,
2021.    (Doc. 8-1, at 4.)      Much of Defendant's alleged conduct,
including the assault, Facebook stalking, and several of the


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reports to management that resulted in "false assurances of
action," occurred more than 45 days prior to the February 10, 2021
meeting. (Doc. 8-1, at 5, 12-13, 37, 52; Doc. 6, 11 8-12.) These
discrete acts are therefore time barred, and Plaintiff may not

r0ly on them in support of her gender discrimination claim.
Morgan, 536 U.S. at 112-13.

       The    record   shows the   only discrete     acts raised in the

applicable time frame were Plaintiff's meeting on February 10,
2021 with Ms. Miranda, who immediately put her in contact with the

EEO office; her meeting with the EEO office on February 10, 2021;

and her complaints and management's responses after the offending
employee's violation of the no-contact orders, which were put in
place on February 11, 2021.          (Doc. 8-1, at 28, 32-35; Doc. 6,
SI 10.)      The Court finds these discrete acts are not time barred,
and thus Plaintiff's gender discrimination claim may proceed to
the extent it is based on these acts.           Morgan, 536 U.S. at 112

13.


                   ii. Hostile Work Environment

       Plaintiff's hostile work environment claim is based generally

on "Defendant's conduct as alleged" throughout her Complaint.

(Doc. 6, SISI 24-25.) Again, Defendant contends Plaintiff failed to
timely initiate contact with the EEO office and thus did not
exhaust this claim, and Plaintiff contends her claim is timely and

if not should be subject to eguitable tolling.           (Doc. 8, at 8, 12,


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Doc. 11, at 7-9.)              As explained above, timeliness for a hostile

work environment claim is treated differently than other disparate

treatment claims.              Morgan, 536 U.S. at 105.                For Plaintiff's

hostile work environment claim, she only needs to show "an act

contributing to that hostile environment t[ook] place within the

statutory time period." Id. Plaintiff's February 10, 2021 meeting
with Ms. Miranda, who immediately put her in contact with the EEO

office,      and    her    complaints         after    the     offending      employee's

violation of the February 11, 2021 no-contact orders, both fall

within 45 days of her February 10, 2021 EEO office meeting.                        {Doc.

8-1, at 27-28, 32-35, 37; Doc. 6, SlSl 10, 12.) Therefore, the Court

finds Plaintiff's hostile work environment claim is timely.

                     iii. Constructive Discharge

       Again, Defendant argues Plaintiff failed to timely file her
constructive discharge claim, and thus did not exhaust this claim,

and Plaintiff contends her claim is timely or should be subject to

equitable tolling.              (Doc. 8, at 8, 12; Doc. 11, at 7— 9.)              After
Plaintiff      spoke       with    EEO    counselors         and     the    investigation
commenced. Plaintiff was constructively discharged from employment

at the VA.         (Doc. 6, SISl 13-14.)           Plaintiff alleges she contacted

the    EEO   office       at    that   time    and    sought    to    add    constructive

discharge to what she believed was her ongoing EEO claim.                          (Id. SI

14.)     No evidence of Plaintiff's constructive discharge claim is

present in the EEO investigation.                   (See Doc. 8-1.)         Nevertheless,


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the    Court   finds   Plaintiff's     constructive    discharge    claim    is

timely.

       Plaintiff's claim for constructive discharge arose after her

initial contact with the EEC office.          (Doc. 6, SI 29.)      Plaintiff

alleges she filed, or at least attempted in good faith to file,
her constructive discharge claim within the applicable 45-day

statutory period, but she never received a response from the EEO

office. (Id. SISI 13-15, 29.) Based on these allegations, the Court

finds Plaintiff timely raised her constructive discharge claim,

even without considering equitable tolling. Furthermore, based on

the Court's analysis above, any failure to raise this claim may be
subject to equitable tolling as it occurred sfter the allegedly
misleading statement regarding filing of a formal EEO complaint by
an EEO counselor.         The application of tolling to Plaintiff's

constructive      discharge    claim    is   further    bolstered     by    her

allegation that her claim is based, in part, on the lack of action
by the EEO office in response to her complaints. (Id. II 29.) For
these reasons, the Court finds Plaintiff's constructive discharge

claim is timely.

                   iv. Rehabilitation Act


        Finally, Defendants contend Plaintiff's claims raised under

the Rehabilitation Act were not timely raised to the EEO.                  (Doc.

8, at 13.)         Plaintiff argues she brought this claim to the

attention of the EEO office, not that she brought this claim timely



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to the attention of the EEO.        (Doc. 11, at 18.)    Plaintiff alleges

she    was   "denied   reasonable    requests   for   leave    secondary    to

legitimate health issues she presented to her management," but

like the rest of her Complaint, provides no dates or approximations

of when leave was requested and denied.          (Doc. 6, SI 30.)    The EEO

investigation reflects Plaintiff had issues with leave, but all

the dates requesting and disputing leave were in late 2020, well

outside of the 45-day statutory period.          {Doc. 8-1, at 6, 12, 18,

29, 37, 45.)      There are no allegations, or even arguments, that

Plaintiff requested and was denied leave after the dates outlined
in the EEO investigation.         (See Docs. 6, 11.)       Thus, the Court

finds Plaintiff failed to timely raise her claims under the

Rehabilitation Act and such claims are barred.

       Turning to whether equitable tolling is applicable, since

there are no allegations or arguments from Plaintiff that she

sought and was denied leave within 45 days of her contact with the
EEO office or anytime thereafter, she has not carried her burden

to show equitable tolling should apply.            Arce, 434 F.3d at 1261
(citation omitted).         For these reasons. Defendant's motion to

dismiss (Doc. 8) is GRANTED as to Plaintiff's Rehabilitation Act

claim.


B. Mobioxi bo Dismiss


       Next, Defendant moves to dismiss all of Plaintiff's claims

for failure to state a claim under Rule 12(b)(6).             (Doc. 8, at 14-



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22.)    Plaintiff argues she sufficiently alleged her claims.                  (Doc.

11, at 18-22.)      The Court analyzes the sufficiency of Plaintiff's

remaining      claims      -     gender     discrimination,          hostile     work

environment, and constructive discharge.                   (Doc. 6, SlSl 22-25, 28-

29.)      As   outlined    above,     the       Court   is   constrained   to    the

allegations within the four corners of the complaint, but the Court

may consider Plaintiff's EEC investigation without converting the
motion into a motion for summary judgment.                   Speaker, 623 F.3d at

1379; Hi-Tech Pharms., Inc., 910 F.3d at 1189; SFM Holdings, 600

F. 3d at 1337.


       1. Gender Discrimination and Hostile Work Environment Claims

       Preliminarily,          Defendant        contends     Plaintiff's       gender

discrimination and hostile work environment claims are ''improperly

duplicated into two separate counts." (Doc. 8, at 14.) Plaintiff
recognizes Defendant's argument, and she does not argue or in any
way contend the claims are distinct.                (Doc. 11, at 15.) Instead,
Plaintiff treats them as one claim in her opposition.                   (Id. at 18-

20.)     It does not appear Plaintiff brought two distinct claims.

Both of Plaintiff's claims are predicated on all of Defendant's

conduct and her arguments pertaining thereto focus specifically on

the harassment she endured from the offending employee and that

the    harassment    was       "condoned    and    enabled,     or   certainly    not

thwarted, by management." (See Doc. 6,                     22-25; Doc. 11, at 20.)

Furthermore, Plaintiff's arguments focus heavily on whether the


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harassment was "severe and pervasive," an element of hostile work

environment     claims    but   not   of   general    gender   discrimination

claims.    (Doc. 11, at 18-20); see Copeland v. Ga. Pep't of Corr.,

97 F.4th 766, 774 (llth Cir. 2024); Rice-Lamar v. City of Ft.

Lauderdale, 232 F.3d 836, 842-43, 843 n.3 (llth Cir. 2000) (citing

McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973)).

Indeed, Plaintiff's arguments cite only to the factors of a hostile
work environment claim.         (Doc. 11, at 19.)       Therefore, the Court

finds Plaintiff's gender discrimination claim and hostile work
environment claim are one claim for hostile work environment and

will analyze it as such. To the extent Plaintiff originally tried
to file two separate claims, her gender discrimination claim is
DISMISSED for failure to state a claim.

       There are five elements of a hostile work environment claim:

"(1) [the plaintiff] belongs to a protected group; (2) [s]he was
subject to unwelcome harassment; (3) the harassment was based on
a protected characteristic; (4) the harassment was sufficiently
severe or pervasive to alter the conditions of h[er] employment;

and (5) h[er] employer was responsible for the hostile work
environment." Copeland, 97 F.4th at 774 (internal quotation marks

and     citation    omitted).         Defendant      specifically     challenges

Plaintiff's      allegations     as to     the    fourth   element - arguing

Plaintiff     failed     to   sufficiently    allege    severe   or    pervasive

harassment that altered the terms and conditions of her employment.



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(Doc. 8, at 15-18.) Plaintiff contends she alleged enough to show

she faced severe and pervasive harassment at work, including being

forced to change shifts, change locations, enter and exit out of

the back of the building, and facing ongoing harassment from the

offending employee.     (Doc. 11, at 18; Doc. 6, SI 27.)         She also
points   to   management's     repeated    failures    to   address       her
complaints, specifically management's failure to enforce the no-
contact orders put in place between her and the offending employee,

which was allegedly accompanied by the statement ''it's your word
against his." (Doc. 6, SISI 1, 9-12, 27; Doc. 11, at 18.)
     "The severe-or-pervasive element ensures that a hostile work

environment claim remains faithful to the text of Title VII.

Copeland, 97 F.4th at 775.      Only a work environment alleged to be
sufficiently inundated by "intimidation, ridicule, and insult
. . . to alter the conditions of the victim's employment" is

actionable.    Id. (citing Harris v. Forklift Sys., Inc., 510 U.S.

17, 21 (1993)).       To be sufficiently severe and pervasive, a

plaintiff is not required to suffer a "'serious effect on [her]
psychological well—being' nor even a 'tangible effect[] on h[er]
job performance before suing." Id. (second alteration in original)
(quoting Harris, 510 U.S. at 20, 22)).          However, a hostile work
environment claim under Title VII does not operate as a "civility

code for the American        workplace."     Oncale, 523 U.S. at 80.

Instead, it charts "a middle path between making actionable any


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conduct that is merely offensive and requiring the conduct to cause

a tangible psychological injury." Harris, 510 U.S. at 21.
     To establish the severe and pervasive element, the employee

must allege both a subjective and objective component. Mendoza v.
Borden, Inc., 195 F.3d 1238, 1246 (11th Cir. 1999) (quoting Harris,
510 U.S. at 21-22).        First, the employee must ''subjectively

perceive" the harassment as sufficiently severe and pervasive to
alter the terms and conditions of employment.            1<^»   Plaintiff

alleges the continued degeneration of her employment forced her to
leave her employment, despite the fact she planned to make her
position a career.      (Doc. 6, SlSl 6, 13.)    Thus, the Court finds
Plaintiff sufficiently alleged she subjectively perceived the
harassment as sufficiently severe and pervasive to alter her terms

and conditions of employment.        Second, the conduct must also be
objectively severe and pervasive enough to alter the terms and
conditions   of employment, considering         all the circumstances.

Mendoza, 195 F.3d at 1246. For the objective component, the Court

must consider whether the environment was one a reasonable person

in the plaintiff's position would find hostile or abusive under
the circumstances.       Id.    Under the objective inquiry, courts

consider four factors: "(1) the frequency of the conduct; (2) the

severity of the conduct; (3) whether the conduct is physically
threatening or humiliating, or a mere offensive utterance; and (4)




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whether the conduct unreasonably interferes with the employee's

job performance."      Id. (citation omitted).

       First, as to the frequency factor, Plaintiff alleges despite

her continued effort to       work with and      beg   her supervisors to

address the harassment from the offending employee, there                was

''ongoing lack of support and safety . . . from management" and
"ongoing harassment" following the alleged assault.           (Doc. 6, SISl
11-12, 30.)    Second, with respect to severity. Plaintiff alleges

Defendant's official harassed her by allowing her to be sexually

assaulted by a fellow employee, allowing and enabling the offending
employee to harass and stalk her after the assault, and providing
no support or guidance in the face of such harassment. (Id. SI 1.)
More    specifically.     Plaintiff    alleges    after    finally   being
reassigned to a different shift and location than the offending
employee and after signing a no-contact order, the offending
employee was allowed to change to the same location and shift as
her.    (Id. SI 10.)     In response to the offending employee being
transferred and violating the no-contact orders. Plaintiff was

told by a manager there was nothing that could be done because
"it's your word against his." (Id. SI 12.) As to the third factor.
Plaintiff alleges the offending employee "walked behind her and

rubbed against her in a sexual fashion."               (Id. SI 8.)   These
allegations show the alleged harassing conduct was more than

physically threatening; it escalated to actual physical contact.


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Finally, as to the fourth factor, the Complaint includes examples

of how the alleged harassment changed the terms and conditions of

Plaintiff's employment: she was forced to change workstations and

shifts and had to leave work through alternate means.          (Id. SI 27.)

      Plaintiff's allegations are thin and create a close call as

to   whether Plaintiff carried       her burden under Rule 12(b)(6).

Nevertheless, taking Plaintiff's allegations as true, the Court

concludes it is plausible the alleged harassment was sufficiently

severe and pervasive to alter the terms and conditions of her

employment such that a reasonable person would find the environment

hostile and abusive.        Mendoza, 195 F.3d at 1246.           The cases

Defendant    relies    on   to   argue    Plaintiff s    allegations       are

insufficient to state a claim are distinguishable for two reasons.

(Doc. 8, at 16-17.)         First, the cited cases affirm grants of
summary judgment, which is subject to a different standard than a
motion to dismiss.     See, e.g., Mendoza, 195 F.3d at 1247; Williams

V. Hous. Auth. of Savannah, Inc., 834 F. App'x 482, 491 (11th Cir.

2020; Byrd v. Postmaster Gen., 582 F. App'x 787, 793 (11th Cir.

2014); Henderson v. Waffle House, Inc., 238 F. App'x 499, 502 (11th

Cir. 2007); Mitchell v. Pope, 189 F. App'x 911, 913, 913 n.3 (11th

Cir. 2006).      As stated. Plaintiff's allegations are thin, but,

based on the less severe standard applied to a motion to dismiss,

Plaintiff made a plausible claim for hostile work environment.




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       Second, in comparing Plaintiff's allegations to the cited

cases, Defendant simplifies her allegations to a single act of

sexual    conduct     but   ignores   Plaintiff s     contentions   that    her

complaints and requests for help were ignored, or completely
disregarded, by management and that management's conduct allowed
and enabled the offending employee to continue harassing her.

(Doc. 8, at 17-18; Doc. 6,                1, 9-11, 27; Doc. 11, at 20.)

Overall, Plaintiff alleged sufficient facts to support a plausible

claim for hostile work environment.            Therefore, Defendant's motion

to dismiss Plaintiff's hostile work environment claim is DENIED.

       2. Constructive Discharge

       Plaintiff asserts a claim for constructive discharge based on

her     allegations     that   the    ''conditions    of   [her]    employment
degenerated enough that she was forced to leave her employment
because of "the lack of action" in response to her complaint "by

her managers and the EEO [office]." (Doc. 6, S1S[ 13-14, 29.)
Defendant contends Plaintiff s allegations provide no basis for a

constructive discharge claim because they are too vague or based

on conduct that is too remote to rise to the level of constructive

discharge. (Doc. 8, at 20—21.)                Plaintiff argues the offending

employee's continuous contact with her even after the no-contact

orders were in place and management's continued failures to do

anything about it, including allegedly commenting there was no

enforcement     of    the   no-contact   orders     because "it's   your   word



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against his," is sufficient to allege a constructive discharge

claim.   (Doc. 11, at 21.)

      To establish a constructive discharge claim. Plaintiff must

"demonstrate     that   the    work   environment       and   conditions   of

employment were so unbearable that a reasonable person in that
person's position would be compelled to resign." Virgo v. Riviera
Beach Assocs., Ltd., 30 F.3d 1350, 1363 (11th Cir. 1994) (citations

omitted).    The threshold is "quite high."            Hipp v. Liberty Nat'l

Life Ins. Co., 252 F.3d 1208, 1231 (11th Cir. 2001). An employer's

conduct must be severe or pervasive, but "[t]he standard for

proving constructive discharge is higher than the standard for
proving a hostile work environment."             Id. (citations omitted).
Indeed, "employee resignations are presumed to be voluntary."
Harqray v. City of Hallandale, 57 F.3d 1560, 1568 (11th Cir. 1995)

(citations omitted) (noting that "presumption will prevail unless

the employee comes forward with sufficient evidence to establish
that the resignation was involuntarily extracted" (alterations

adopted) (citation omitted)).             A plaintiff must show "the work
environment and conditions of employment were so unbearable that

a reasonable person in that person's position would be compelled
to   resign."      Virgo,     30   F.3d    at   1363   (citations   omitted).

Furthermore, "[i]n determining whether a reasonable person would

be compelled to resign, courts consider the amount of time between

the objectionable acts and the constructive discharge, with a


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longer gap cutting against reasonableness."          Moore v. San Carlos
Park Fire Prot. & Rescue, 808 F. App'x 789, 798 (llth Cir. 2020)

(citing Spence v. Maryland Casualty Co., 995 F.2d 1147 (2nd
Cir.1993); Steele v. Offshore Shipbuilding, Inc., 867 F.2d 1311

(llth Cir.1989)).

       Plaintiff has not pled facts sufficient to support a claim

for constructive discharge.          As explained above in analyzing

Plaintiff's other claims, the allegations in her complaint do not

reference specific dates or circumstances in which the allegedly
discriminatory acts occurred. (See Doc. 6.) Plaintiff claims she

was constructively discharged when she resigned but does not state

the date of her resignation.          (Id. 1% 13-14, 29.)        Plaintiff

alleges that she was assaulted and Facebook stalked by the
offending employee, but from the EEO investigation the Court knows

these instances occurred in January 2020, at least two years prior

to her resignation. (Id.          8, 10; Doc. 8-1, at 5, 12-13, 53-54.)
She also alleges general lack of support by management, one

specific comment by management, and violation of a no—contact

order, without mentioning perpetrators or dates when these acts

occurred.    (Doc. 6, 55 13—14, 29.)       Plaintiff has not alleged any

of these actions occurred close in time to her resignation.            (See

id.)    While the Court must construe the facts in Plaintiff's favor

at the motion to dismiss stage, a complaint is insufficient when

it     tenders   ''''naked   assertions'   devoid   of   'further   factual



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enhancement.'"    ZCqbaJL, 556 U.S. at 678 (quoting Twombly^ 550 U.S.

at 557).    Here, Plaintiff hardly alleges details of any behavior

at all, providing no specific dates or names any offending

employees, and instead makes broad, unspecified claims.                Without

specific allegations with dates of alleged discriminatory conduct

and Plaintiff's date of resignation, the Court cannot determine

whether a ^treasonable person in [her] position would be compelled

to   resign" and     Plaintiff s    allegations      are      insufficient   to

overcome the presumption her resignation was voluntary.               Hargray,

57 F.3d at 1568; Virgo, 30 F.3d at 1363.            For these reasons, the

Court finds Plaintiff's meager allegations do not meet the higher

standard of plausibly alleging constructive discharge, even at the

less severe standard applied to a motion to dismiss.                Moore, 808

F. App'x at 798 (11th Cir. 2020) (affirming dismissal of a
constructive discharge claim when the plaintiff had at least a

three-month gap between her latest demotion and resignation and

there was no way of determining from her allegations when other

discriminatory acts occurred); Simmons v. Oaks Senior Living, LLC,

No. CV422-274, 2024 WL 248510 (S.D. Ga. Jan. 23, 2024) (dismissing

a constructive discharge claim where the complaint did not contain

enough factual matter to sufficiently show a reasonable person in

the plaintiff's position would be compelled to resign). Therefore,

Defendant's    motion    to   dismiss     is   GRANTED   as    to   Plaintiff's

constructive discharge claim.



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                            IV. CONCLUSION


    Based on the foregoing, IT IS HEREBY ORDERED that Defendant's

motion to dismiss (Doc. 8) is GRANTED IN PART AND DENIED IN PART.

Based on the foregoing, Plaintiff's claims for reprisal, gender

discrimination,   constructive    discharge,   and   violation    of     the

Rehabilitation Act are DISMISSED.        Plaintiff's other claim may

proceed as set out in this Order.

     ORDER ENTERED at Augusta, Georgia, this                     of July,

2024.



                                        HONO^bJJTjT RANDAL HALL
                                        UNITED^ATES DISTRICT JUDGE
                                        SOUTHEyN DISTRICT OF GEORGIA




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